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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA,
Vv.

Case No. 19-cr-10080

DAVID SIDOO, et al.,

Defendants.

 

 

UNOPPOSED MOTION TO EXTEND FILING DEADLINE AND FOR LEAVE TO
EXCEED PAGE LIMIT

At the hearing on February 27, 2020, the Court directed Defendants to file a submission
relating to the government’s recent and forthcoming disclosures of exculpatory material by March
13, 2020. On March 4, 2020, the government produced a subset of the promised materials,
including certain FBI 302 reports and Cellbrite Extraction Reports of Rick Singer’s cell phones.
The government also indicated that it would provide additional discovery, including additional
FBI 302 reports, T-III telephone calls and text messages, agent notes, and additional cell phone
data from Singer’s phones, on or before March 13, 2020. On March 5, 2020, Defendants requested
a one week extension of the March 13, 2020 deadline to allow time to review and incorporate
discovery being produced by the government (Dk. #925), which the Court granted (Dk. #927).
The government’s second discovery production was not produced to Defendants until the
afternoon of Monday, March 16, 2020, and included more than 200,000 pages of material and over
20 gigabytes of data in the form of cell phone collections, telephone calls, images, etc. The
Defendants have been working diligently to review and incorporate the newly disclosed discovery
material and prepare a consolidated submission.

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Furthermore, as a result of the spread of COVID-19, nearly all members of the defense
team are under orders to shelter in place or are required to work remotely, which has made it more
difficult for defense counsel to coordinate review of the material produced by the government, and
seek input and approval from all Defendants for the consolidated submission.

Given the volume and timeline of the discovery produced by the Government, along with
the extraordinary circumstances arising from the rapid spread of COVID-19, Defendants
respectfully request that the Court extend the deadline for filing the submission by three business
days, from Friday, March 20, 2020, until Wednesday, March 25, 2020.' The government does not
oppose this request.

Further, Defendants respectfully submit this request to file a consolidated over-length brief.
As grounds for this motion, the Defendants state that additional pages are necessary to address the
numerous issues raised by the Government’s recent disclosure of exculpatory material in one
submission that adequately addresses the concerns specific to each of the Defendants. As further

grounds for this motion, the Defendants state that the government also does not oppose this request.

Dated: March 18, 2020 Respectfully submitted,

/s/ Sean M. Berkowitz

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' All Defendants join in this motion.
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Loughlin

LOCAL RULE 7.1 CERTIFICATION

Pursuant to Local Rule 7.1(a)(2), I hereby certify that I have conferred with counsel for
the Government, and the Government does not oppose the relief requested in this motion.

/s/ William J. Trach
William J. Trach

CERTIFICATE OF SERVICE
I certify that the foregoing document, which was filed with the Court through the CM/ECF
system, will be sent electronically to all registered participants as identified on the Notice of
Electronic Filing, and paper copies will be sent on March 18, 2020 to those identified as non-

registered participants.

/s/ Sean M. Berkowitz
Sean M. Berkowitz
